                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )       MATTICE/CARTER
                                               )
         v.                                    )       CASE NO. 1:10-CR-1
                                               )
 ROY WALSH                                     )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on April 1, 2010.

 At the hearing, defendant entered a plea of guilty to Count One of the Bill of Information. There

 is no plea agreement in this case. I find defendant made a knowing and voluntary waiver of

 indictment and consent to proceed before the magistrate judge. On the basis of the record made

 at the hearing, I find the defendant is fully capable and competent to enter an informed plea; the

 plea is made knowingly and with full understanding of each of the rights waived by defendant;

 the plea is made voluntarily and free from any force, threats, or promises; the defendant

 understands the nature of the charge and penalties provided by law; and the plea has a sufficient

 basis in fact.

         Therefore, I RECOMMEND defendant’s plea of guilty to Count One of the Bill of

 Information be accepted, the Court adjudicate defendant guilty of the charges set forth in Count

 One of the Bill of Information. Defendant has been taken into custody pending sentencing.

 Acceptance of the plea, adjudication of guilt, and imposition of sentence are specifically reserved

 for the district judge.




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        Defendant’s sentencing is scheduled for Monday, July 12, 2010, at 9:00 am.


        Dated: April 6, 2010                   s/William B. Mitchell Carter
                                               UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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